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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number 21 -cr-579

Brandon Straka
(Defendant)

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

[| CJA [=] RETAINED [| FEDERAL PUBLIC DEFENDER

Nicholbsse Smith.

(Signature)

PLEASE PRINT THE FOLLOWING INFORMATION:

Nicholas Smith DC:1029802

(Attorney & Bar ID Number)
David B Smith PLLC

(Firm Name)

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917-902-3869

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